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8                         UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
9

10   JOHN VON HEGEL, JR.,               ) Case No. 3:11-cv-01916-EMK
                                        )
11   Plaintiff,                         ) NOTICE OF SETTLEMENT
12
                                        )
            vs.                         )
13                                      )
14
     CAPITAL MANAGEMENT                 )
     SERVICES, L.P.,                    )
15                                      )
     Defendant.                         )
16
     __________________________________ ) ________________________________
17
            NOW COMES THE PLAINTIFF by and through his attorney to respectfully
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19   notify this Honorable Court that this case has settled. Plaintiff requests that this
20
     Honorable Court allow sixty (60) days with which to file dispositive documentation. A
21
     Voluntary Dismissal will be forthcoming. This Court shall retain jurisdiction over this
22

23   matter until fully resolved.
24
                   Respectfully submitted this 21st day of November, 2011.
25
                                      By: /s Cynthia Z. Levin
26
                                             Cynthia Z. Levin, Esq. (PA 27050)
27                                           Law Offices of Todd M. Friedman, P.C.
                                             Attorney for Plaintiff
28




                                        Notice of Settlement - 1
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1    Filed electronically on this 21st day of November, 2011, with:
2
     United States District Court CM/ECF system
3

4
     Notification sent electronically via the Court’s ECF system to:

5    Honorable Edwin M. Kosik
6
     United States District Court
     Middle District of Pennsylvania
7

8
     This 21st day of November, 2011.
9
     s/Todd M. Friedman
10
     Todd M. Friedman
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                                         Notice of Settlement - 2
